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                               UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                            *   CIVIL ACTION

VERSUS                                           *   NO. 2:20-cv-2679

THE ADMINISTRATORS OF THE                        *   JUDGE GREG GERARD GUIDRY
TULANE EDUCATIONAL FUND
                                                 *   MAGISTRATE JUDGE KAREN WELLS
                                                     ROBY

                PLAINTIFF’S EXPARTE MOTION FOR LEAVE TO FILE
                 OPPOSITION IN EXCESS OF TWENTY-FIVE PAGES

      In accordance with Rule 7.7 of the Local Civil Rules of the United States District Court

for the Eastern District of Louisiana, Plaintiff, Princess Dennar, M.D., respectfully requests that

this Court grant her leave to file a Memorandum in excess of twenty-five pages in opposition to

the Motion to Dismiss and Motion to Strike filed by Tulane.

      The Memorandum in Opposition is 30 pages long. Plaintiff’s Complaint includes claims

for discrimination in employment in violation of Title VII of the Civil Rights Act, a claim for

retaliation in employment in violation of Title VII of the Civil Rights Act, a claim for Section

1981, and an abuse of rights claim under state law. Tulane filed two motions in one document, a

Motion to Dismiss and a Motion to Strike, both of which must be fully addressed by the

Plaintiff in her opposition.



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      In light of these combined motions, Dr. Dennar’s Memorandum in Opposition to the

Motion to Dismiss and Motion to Strike is in excess of the 25-page limit. Under these

circumstances, Plaintiff respectfully requests that this Court grant it leave to file in excess of the

page limit of its Memorandum in Opposition to the Motion to Dismiss and Motion to Strike.

Dated: July 27, 2021                          Respectfully submitted,

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                                                & HAUVER, L.L.P.

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